Case 19-50269-JTD Doc49 Filed 10/04/19 Page1of1

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

EDGEMARC ENERGY HOLDINGS,
LLC,

Case No. 19-11104 (JTD)

Debtor(s).

 

)
)
)
)
}

) Adv. Proc. No. 19-50269 (JTD)

GSCP VI EDGEMARC HOLDINGS, _ )

L.L.C., et al. )

)

Plaintiff(s), )

Vv. )

)

)

)

)

)

ETC NORTHEAST PIPELINE, LLC,

Defendant(s).

 

ORDER SCHEDULING STATUS CONFERENCE
The Court has scheduled a status conference in the above-captioned adversary
proceeding for October 23, 2019 at 10:00 a.m. in Courtroom 5 of the United States
Bankruptcy Court, Wilmington, Delaware. This will be a telephonic status conference,
so long as no additional matters are scheduled to go forward at the omnibus hearing

scheduled in the main bankruptcy case.

Dated: October 4, 2019 DL ff Maey

HN T. DORSEY, U.S.B.J.
